     Case 19-12556-KCF            Doc 102 Filed 07/17/21 Entered 07/18/21 00:15:14                           Desc
                                 Imaged Certificate of Notice Page 1 of 6
Form 137 − aplccmpn

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 19−12556−KCF
                                         Chapter: 7
                                         Judge: Kathryn C. Ferguson

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Elia J. Zois                                             Mariana Zois
   141 Oval Road                                            141 Oval Road
   Building 1                                               Building 1
   Manasquan, NJ 08736                                      Manasquan, NJ 08736
Social Security No.:
   xxx−xx−4007                                              xxx−xx−8716
Employer's Tax I.D. No.:


                      NOTICE OF HEARING ON APPLICATION FOR COMPENSATION

      NOTICE IS HEREBY GIVEN that there will be a hearing held before the honorable Kathryn C. Ferguson on:

Date:       8/19/21
Time:       02:30 PM
Location:    Courtroom 2, Clarkson S. Fisher, U.S. Courthouse, 402 E. State St., Trenton, NJ 08608−1507

for the purpose of acting on applications for compensation. Attendance by debtor(s) or creditors is welcome, but not
required.

      The following applications for compensation have been filed:

APPLICANT(S)
Perkins Coie LLP, Special Counsel to Trustee

COMMISSION OR FEES
FEES $131,027.00

EXPENSES
$10,931.92

If this is a chapter 13 case, the fees and expenses awarded:

                will not reduce the amount to be paid to general unsecured
                creditors under the plan.

                will reduce the amount to be paid to general unsecured
                creditors under the plan as follows:
Debtor(s) or other parties who wish to object must file an objection not later than 7 days prior to the hearing date.
Objections must be filed with the Court and served on the applicant and other interested parties.

      An appearance is not required on an application for compensation unless an objection is filed.
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Dated: July 15, 2021
JAN:

                                                Jeanne Naughton
                                                Clerk
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                                                Imaged Certificate of Notice Page 3 of 6
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 19-12556-KCF
Elia J. Zois                                                                                                           Chapter 7
Mariana Zois
        Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Jul 15, 2021                                               Form ID: 137                                                              Total Noticed: 78
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 17, 2021:
Recip ID                 Recipient Name and Address
db/jdb                 + Elia J. Zois, Mariana Zois, 141 Oval Road, Building 1, Manasquan, NJ 08736-2000
acc                    + Bederson, LLP, 347 Mt. Pleasant Avenue, West Orange, NJ 07052-2749
cr                       Fulton Bank of New Jersey, 1386 Route 130 and Main Street, Windsor, NJ 08651
sp                     + Perkins Coie LLP, 1155 6th Avenue, 22nd Floor, nEW yORK, ny 10036-2711
cr                     + Summitbridge Credit Investments IV LLC, c/o Dembo, Brown & Burns LLP, 1300 Route 73, Suite 205, Mount Laurel, NJ 08054-2200
518015181              + AIG Private Client Group, c/o Cisco, Inc., PO. Box 801088, Houston, TX 77280-1088
518015182              + American Express Centurion Bank, c/o Zwicker & Associates, 1105 Laurel Oak Rd. Suite136, Voorhees, NJ 08043-4312
518067871              + American Express National Bank, AENB, c/o Zwicker and Associates, P.C., Attorneys/Agents for Creditor, P.O. 9043, Andover, MA
                         01810-0943
518015183              + Arch Insurance Company, 3 Parkway, Suite 1500, Philadelphia, PA 19102-1323
518015184              + Asia Building Materials, Inc., c/o Law Offices of Martin W. Chow, LLC, 2861 Royle Street, Bellmore, NY 11710-4125
518618598              + Birch Hill Real Estate, c/o Jamie A. Robinson, Esq., 330 N. Wabash Ave. Suite 2100, Chicago, IL 60611-3673
518015185              + Birch Hill Real Estate, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue Suite 2100,
                         Chicago, IL 60611-3793
518241276              + Burke, Warren, MacKay & Serritella, P.C., Attn: Brian P. Welch, Esq., 330 North Wabash Avenue # 2100, Chicago, IL 60611-3793
518015186              + CCP Colony Oaks 0767 LLC, 601 North Briarcliff Drive, Appleton, WI 54915-2959
518015187              + CCP Kennedy Park 0771, 6001 Alderson Street, Schofield, WI 54476-3614
518015188              + CCP Vallhaven 0770, LLC, 125 Byrd Avenue, Neenah, WI 54956-4015
518015190                CliftonLarsonAllen LLP, PO Box 829702, Philadelphia, PA 19182-9702
518015193              + EG Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke Warren MacKay & Serritella, P.C., 330 North Wabash Avenue, Suite 2100,
                         Chicago, IL 60611-3793
518015194              + Ellsworth Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue Suite
                         2100, Chicago, IL 60611-3793
518241215              + Eric J. Levine, Esq., c/o Baron Samson LLP, 27 Horseneck Road, Suite 210, Fairfield, NJ 07004-2487
518015195              + Fong Construction Corp, c/o Law Offices of Michael Giampilis PC, 94 Willis Ave, Mineola, NY 11501-2600
518015196              + Freedom Bank, 99 West Essex Street, 2nd Floor, Maywood, NJ 07607-1019
518234950              + Fulton Bank of New Jersey, c/o Norris McLaughlin, P.A., 400 Crossing Boulevard, 8th Floor, Bridgewater, NJ 08807-2863
518232157              + Fulton Bank of New Jersey, 118 West Market Street, West Chester, PA 19382-2902
518041451              + Generation Pharmacy Group, LLC, 1120 Alps Road, Wayne, NJ 07470-3704
518015199              + Investors Bank, Corporate Office, 101 JFK Parkway, Short Hills, NJ 07078-2716
518041452              + KBWB Operations LLC, 1120 Alps Road, Wayne, NJ 07470-3704
518242558              + Kevin P. Breslin, Attn: Mark B. Conlan, Esq., Gibbons P.C., One Gateway Center, Newark, NJ 07102-5310
518015200              + Kewaunee Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue, Suite
                         2100, Chicago, IL 60611-3793
518015202              + Lancaster Real Estate, LLC, c/o Jamie A. Robinson, Burke, Warren, Mackay & Serritella, P.C., 330 North Wabash Avenue, Suite 2100,
                         Chicago, IL 60611-3793
518015203              + M Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue, Suite 2100,
                         Chicago, IL 60611-3793
518015204              + Maple Lane Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue, Suite
                         2100, Chicago, IL 60611-3793
518015206              + Menominee Real Estate, LLC, c/o Jamie A, Robinson, Esq, Burke, Warren, MacKay, Serritella, P.C., 330 North Wabash Avenue, Suite
                         2100, Chicago, IL 60611-3793
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Date Rcvd: Jul 15, 2021                                               Form ID: 137                                                             Total Noticed: 78
518241218              +   Meyer and Landis LLP,, Linda T. Snyder, Esq., One Gateway Center, Suite 2500, Newark, NJ 07102-5323
518015209             #+   Michael E. Breslin, Esq, 130 W 57th St, Ste 1A, New York, NY 10019-3314
518015210              +   MidCap Funding IV Trust, C/O MidCap Financial Services, LLC, 7255 Woodmont Avenue, Suite 200, Bethesda, MD 20814-7904
518714330              +   MidCap Funding Trust XLI, c/o Gretchen Santamour, Esquire, Stradley Ronon Stevens & Young, LLP, 2005 Market Street, Suite 2600,
                           Philadelphia, PA 19103-7098
518714334              +   MidCap Funding XLII Trust, c/o Gretchen Santamour, Esquire, Stradley Ronon Stevens & Young, LLP, 2005 Market Street, Suite 2600,
                           Philadelphia, PA 19103-7098
518015211              +   Mineral Point Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue,
                           Suite 2100, Chicago, IL 60611-3793
518015212              +   NH Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue, Suite 2100,
                           Chicago, IL 60611-3793
518015213              +   Parkside Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue, Suite
                           2100, Chicago, IL 60611-3793
518015214              +   Provident Bank, 100 Wood Avenue South, P.O. Box 1001, Iselin, NJ 08830-1001
518234994              +   Provident Bank, c/o Sherman Wells Sylvester, & Stamelman LLP, 210 Park Avenue, Florham Park, NJ 07932-1056
518015216              +   RHCF, Inc., c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, 330 North Wabash Avenue, Suite 2100, Chicago, IL
                           60611-3793
518015217              +   RHCF, Two, Inc., c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, 330 North Wabash Avenue, Suite 2100, Chicago, IL
                           60611-3793
518015218              +   Rice Healthcare Facilities of Wisconsin, c/o Jamie A. Robinson, Esq, Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash
                           Avenue, Suite 2100, Chicago, IL 60611-3793
518015219              +   Rice Housing Facilities Two, Inc., c/o Jamie A. Robinson, Esq, Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue,
                           Suite 2100, Chicago, IL 60611-3793
518015220              +   Rice Housing Facilities, Inc., c/o Jamie A. Robinson, Esq, Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue, Suite
                           2100, Chicago, IL 60611-3793
518015223             +    SF V Bridge, LP (Stabilis), 767 Fifth Avenue, 12th Floor, New York, NY 10153-0023
518618596            ++    STATE OF NEW JERSEY, DIVISION OF TAXATION BANKRUPTCY UNIT, PO BOX 245, TRENTON NJ 08646-0245 address filed
                           with court:, State of NJ, Div. of Taxation, PO Box 0245, Trenton, NJ 08646-0245
518015221              +   Sabra REIT, 18500 Von Karman Avenue, Suite 550, Irvine, CA 92612-0539
518015222              +   Schaible's Plumbing & Heating Inc., 241 Van Syckles Rd., Hampton, NJ 08827-4027
518015225              +   State of New Jersey, Division of Taxation, PO Box 046, Trenton, NJ 08601-0046
518015228              +   Summit Bridge Credit Investments IV LLC, c/o Dembo Brown & Burns, 1300 Route 73 Suite 205, Mount Laurel, NJ 08054-2200
518015229              +   SummitBridge Credit Investments IV LLC, c/o Reed Smith LLP, 136 Main Street Suite 250, Princeton, NJ 08540-5789
518015232              +   TR Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 NOrth Wabash Avenue, Suite 2100,
                           Chicago, IL 60611-3793
518015230              +   Time Warner Cable, c/o ACA, 725 Canton St,, Norwood, MA 02062-2679
518015231              +   Tniop Real Estate,, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 NOrth Wabash Avenue, Suite 2100,
                           Chicago, IL 60611-3793
518047811              +   Vincent Tufariello, 30 Old Farm Road, Basking Ridge, NJ 07920-3309
518015233              +   Wiiliams Bay Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, 330 N. Wabash Avenue, Suite 2100,
                           Chicago, IL 60611-3793
518048016              +   William G. Burris, III, 2055 Sheridan Road, Encinitas, CA 92024-1145
518047812              +   William G. Burris, Jr., 744 Jeffrey Road, Moorestown, NJ 08057-1932
518015234              +   Williams Bay Assisted Living, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, P.C., 330 North Wabash Avenue,
                           Suite 2100, Chicago, IL 60611-3793
518015235              +   Wisconsin Rapids Real Estate, LLC, c/o Jamie A. Robinson, Esq., Burke, Warren, MacKay & Serritella, 330 North Wabash Avenue, Suite
                           2100, Chicago, IL 60611-3793

TOTAL: 64

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Jul 15 2021 20:28:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Jul 15 2021 20:28:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
518231551              + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Jul 15 2021 20:43:23      Citibank, N.A., 701 East 60th Street North, Sioux
                                                                                                                  Falls, SD 57104-0493
518015189              + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Jul 15 2021 20:43:07      Citicard, PO Box 9001037, Louisville, KY
                                                                                                                  40290-1037
518015191              + Email/Text: BANKRUPTCYNOTICE@CSCINFO.COM
                                                                                        Jul 15 2021 20:28:00      Corporation Sevices Company, 2711 Centerville
                                                                                                                  Rd Suite 400, Wilmington, DE 19808-1645
            Case 19-12556-KCF                  Doc 102 Filed 07/17/21 Entered 07/18/21 00:15:14                                          Desc
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Date Rcvd: Jul 15, 2021                                            Form ID: 137                                                         Total Noticed: 78
518015192                Email/Text: mrdiscen@discover.com
                                                                                   Jul 15 2021 20:28:00     Discover, c/o Financial Services, LLC, PO Box
                                                                                                            15316, Wilmington, DE
518037302                Email/Text: mrdiscen@discover.com
                                                                                   Jul 15 2021 20:28:00     Discover Bank, Discover Products Inc, PO Box
                                                                                                            3025, New Albany, OH 43054-3025
518015198             + Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                   Jul 15 2021 20:28:00     Internal Revenue Service, PO Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
518015201                Email/Text: tlambert@lambertandshackman.com
                                                                                   Jul 15 2021 20:29:00     Lambert & Shackman, PLLC, 274 Madison
                                                                                                            Avenue, New York, NY 10016-0701
518015205             + Email/Text: wire@mwe.com
                                                                                   Jul 15 2021 20:29:00     McDermott, Will & Emery LLP, 340 Madison
                                                                                                            Ave, New York, NY 10173-1922
518015207             + Email/Text: M74banko@daimler.com
                                                                                   Jul 15 2021 20:29:00     Mercedes-Benz Financial Services, PO.Box 685,
                                                                                                            Roanoke, TX 76262-0685
518015224             + Email/Text: cubankruptcy@shutts.com
                                                                                   Jul 15 2021 20:28:00     Shutts & Bowen, LLP, 1500 Miami Center, 201 S
                                                                                                            Biscayne Blvd., Miami, FL 33131-4328
518181170             + Email/PDF: EBN_AIS@AMERICANINFOSOURCE.COM
                                                                                   Jul 15 2021 20:43:34     Verizon, by American InfoSource as agent, 4515
                                                                                                            N Santa Fe Ave, Oklahoma City, OK 73118-7901
518618600             + Email/PDF: EBN_AIS@AMERICANINFOSOURCE.COM
                                                                                   Jul 15 2021 20:43:34     Verizon, c/o American InfoSource, 4515 N. Santa
                                                                                                            Fe Avenue, Oklahoma City, OK 73118-7901

TOTAL: 14


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
518015197                     Fulton Bank, c/o Norris McLaughlin, P.A., 400 Crossing Boulevard,, 8th Floor, NM 88059-3300
518234722                     Investors Bank
518714331                     MidCap Funding XLI Trust
518618597       *+            Arch Insurance Company, 3 Parkway, Suite 1500, Philadelphia, PA 19102-1323
518618595       *+            Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346
518015208       *+            Mercedes-Benz Financial Services, PO.Box 685, Roanoke, TX 76262-0685
518618599       *+            Provident Bank, 100 Wood Avenue South, PO Box 1001, Iselin, NJ 08830-1001
518204592       *P++          STATE OF NEW JERSEY, DIVISION OF TAXATION BANKRUPTCY UNIT, PO BOX 245, TRENTON NJ 08646-0245,
                              address filed with court:, State of New Jersey, Department of Treasury, Division of Taxation, PO Box 245, Trenton, NJ
                              08695-0245
518015226       *+            State of New Jersey, Division of Taxation, PO Box 046, Trenton, NJ 08601-0046
518015227       *+            State of New Jersey, Division of Taxation, PO Box 046, Trenton, NJ 08601-0046
518047808       ##+           KBWB Pharmacy Investment, LLC, 150 Clove Road, 7th Floor, Little Falls, NJ 07424-2139
518047807       ##+           KBWB Pharmacy Investment, LLC, C/O Atrium Health and Senior Living, Attn: Kevin P Breslin, 150 Clove Road, Little Falls,
                              NJ 07424-2139
518047809       ##+           Kevin Breslin, 97 Heights Road, Ridgewood, NJ 07450-2405
518047810       ##+           Mary Theresa Khawly, 888 S. Ocean Blvd., Palm Beach, FL 33480-4929
518015215       ##+           Reed Smith LLP, Princeton Forrester Village, 136 Main Street, #250, Princeton, NJ 08540-5789

TOTAL: 3 Undeliverable, 7 Duplicate, 5 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
              Case 19-12556-KCF               Doc 102 Filed 07/17/21 Entered 07/18/21 00:15:14                                          Desc
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Date Rcvd: Jul 15, 2021                                           Form ID: 137                                                         Total Noticed: 78

Date: Jul 17, 2021                                        Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 14, 2021 at the address(es) listed below:
Name                             Email Address
Andrew J. Kelly
                                 on behalf of Mediator Andrew J. Kelly akelly@kbtlaw.com
                                 wsheridan@kbtlaw.com;saudino@kbtlaw.com;tgraga@kbtlaw.com;pschenke@kbtlaw.com

Brian Thomas Crowley
                                 on behalf of Trustee John Michael McDonnell bcrowley@mchfirm.com bcrowley@mcdonnellcrowley.com

Brian Thomas Crowley
                                 on behalf of Plaintiff John M. McDonnell bcrowley@mchfirm.com bcrowley@mcdonnellcrowley.com

Carol L. Knowlton
                                 on behalf of Unknown Role Type Christ Zois cknowlton@gorskiknowlton.com

Catherine L. Corey
                                 on behalf of Creditor Fulton Bank of New Jersey clcorey@nmmlaw.com

Eric Levine
                                 on behalf of Creditor Arch Insurance Company eric.levine@cfins.com

Eugene D. Roth
                                 on behalf of Joint Debtor Mariana Zois erothesq@gmail.com

Eugene D. Roth
                                 on behalf of Defendant Elia J. Zois erothesq@gmail.com

Eugene D. Roth
                                 on behalf of Defendant Mariana Zois erothesq@gmail.com

Eugene D. Roth
                                 on behalf of Debtor Elia J. Zois erothesq@gmail.com

Jeffrey Vanacore
                                 on behalf of Trustee John Michael McDonnell JVanacore@perkinscoie.com
                                 DocketNYC@perkinscoie.com;tina-carbone-6181@ecf.pacerpro.com;nvargas@perkinscoie.com

John Michael McDonnell
                                 jmcdonnell@mchfirm.com NJ95@ecfcbis.com,bcrowley@mchfirm.com

John Michael McDonnell
                                 on behalf of Trustee John Michael McDonnell jmcdonnell@mchfirm.com NJ95@ecfcbis.com,bcrowley@mchfirm.com

John Michael McDonnell
                                 on behalf of Plaintiff John M. McDonnell jmcdonnell@mchfirm.com NJ95@ecfcbis.com,bcrowley@mchfirm.com

Kyle Francis Eingorn
                                 on behalf of Creditor Summitbridge Credit Investments IV LLC keingorn@dbblegal.com

Linda T. Snyder
                                 on behalf of Creditor Investors Bank lsnyder@meyner.com

Michael E. Brown
                                 on behalf of Creditor Summitbridge Credit Investments IV LLC mbrown@dbblegal.com

Morris S. Bauer
                                 on behalf of Creditor Fulton Bank of New Jersey msbauer@nmmlaw.com
                                 rjacome@norris-law.com,relikens@nmmlaw.com,ddewey@norris-law.com

U.S. Trustee
                                 USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 19
